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             EXHIBIT A
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From:                Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Sent:                Thursday, September 8, 2022 10:38 AM
To:                  Obermeier, Stephen
Cc:                  Paikin, Jonathan; Sweet, Mark
Subject:             RE: Auction 97 litigation



Hi, let’s do “the” meet and confer on September 30. What times work at your end?

Thanks,
Daniel

From: Volchok, Daniel
Sent: Wednesday, September 7, 2022 3:09 PM
To: Obermeier, Stephen <SObermeier@wiley.law>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: RE: Auction 97 litigation

Great, thanks, I’ll get back to you today or tomorrow.

Daniel

From: Obermeier, Stephen <SObermeier@wiley.law>
Sent: Wednesday, September 7, 2022 2:56 PM
To: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: RE: Auction 97 litigation

EXTERNAL SENDER                                                                                                             A

Hi Daniel,

The holiday weekend was great; I hope it was for you as well.

We are willing to do a “pre‐meeting” at 2:00pm ET on September 14, provided that: (1) you let us know in advance of
the “pre‐meeting” what topics you propose to discuss; and (2) defendants agree that written discovery can commence
one week later (September 21).

Alternatively, we propose that “the” meet and confer occur on either September 29 or September 30, which is after the
Jewish New Year and a week before the Answer is due. This would make the 26(f) report due the week after the Answer
is due. As I said, we’re willing to send a draft report in advance (i.e., on 9/28), which we think will substantially expedite
the actual conference.

Let us know, and thanks.

Steve


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From: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Sent: Tuesday, September 6, 2022 4:10 PM
To: Obermeier, Stephen <SObermeier@wiley.law>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: RE: Auction 97 litigation

Hi Steve and Mark, I hope you both had a good holiday weekend. Defendants are amenable to meeting on
September 13 or 14 (and have generally good availability then), but we’d like it to be just a first meeting rather
than “the” meet and confer, so that the parties are not then required to submit their joint Rule 26(f) report to the
court 14 days later. Assuming that’s okay, do you want to suggest a few windows that work for you, and we’ll
let you know which one(s) also work for us?

Thanks,
Daniel

From: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Sent: Friday, September 2, 2022 2:58 PM
To: Obermeier, Stephen <SObermeier@wiley.law>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: Re: Auction 97 litigation

I will confirm and let you know I know today or Tuesday. Thanks.

Get Outlook for iOS

From: Obermeier, Stephen <SObermeier@wiley.law>
Sent: Friday, September 2, 2022 1:51:01 PM
To: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: RE: Auction 97 litigation

EXTERNAL SENDER                                                                                                           A

Hi Daniel,

Since the court’s order to have the 26(f) conference “as soon as practicable” remains in effect, we would still like to have
the conference on the 13th or 14th. Are Defendant’s available?

Thanks,

Steve

From: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Sent: Friday, September 2, 2022 1:13 PM
To: Obermeier, Stephen <SObermeier@wiley.law>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: RE: Auction 97 litigation


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Hi Steve, in light of the court’s continuation of the initial scheduling conference, I think it probably makes sense
to find a date in October for the parties’ 26(f) conference, but let me know if you disagree.

Thanks, and have a great Labor Day,
Daniel

From: Obermeier, Stephen <SObermeier@wiley.law>
Sent: Wednesday, August 31, 2022 11:54 AM
To: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: RE: Auction 97 litigation

EXTERNAL SENDER                                                                                                            A

Thanks, Daniel, I appreciate it.

From: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Sent: Wednesday, August 31, 2022 11:33 AM
To: Obermeier, Stephen <SObermeier@wiley.law>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: RE: Auction 97 litigation

Thanks Steve, we appreciate the courtesy. We’ll file an unopposed motion for a 30-day extension of the time to
file answers. And I’ll consult with our group and get back to you about the 13th and 14th.

Best,
Daniel

From: Obermeier, Stephen <SObermeier@wiley.law>
Sent: Wednesday, August 31, 2022 11:21 AM
To: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>; Sweet, Mark <MSweet@wiley.law>
Subject: RE: Auction 97 litigation

EXTERNAL SENDER                                                                                                            A

Thanks, Daniel.

As a courtesy, we’re happy to agree to extend the deadline for filing answers until September 28 (or 30 days from
issuance of the mandate). We are not, however, willing to agree to extend the deadlines in the Court’s order.

Because this case has been pending for seven years, we believe it is important to begin discovery as soon as possible,
which is consistent with the order. It is also worth noting that the D.C. Circuit issued its decision over three months ago,
so these next steps have been anticipated for some time.

Per the order, are Defendants available for a Rule 26(f) conference on the 13th or 14th? We can circulate a joint
discovery plan on the 9th or the 12th to facilitate discussions. It is our understanding that the report will be due by
3:00pm on 9/16.

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Thanks again.



From: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Sent: Tuesday, August 30, 2022 2:58 PM
To: Obermeier, Stephen <SObermeier@wiley.law>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>
Subject: RE: Auction 97 litigation

Hi Steve, thanks very much for following up. Yes, 60 days from yesterday to answer the complaint. We’d also
like to move the scheduling conference by the same 60 days (to November 18), for the same reasons. If VTel
agrees, we can address both in a single filing.

Best,
Daniel

From: Obermeier, Stephen <SObermeier@wiley.law>
Sent: Tuesday, August 30, 2022 11:25 AM
To: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Cc: Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>
Subject: RE: Auction 97 litigation

EXTERNAL SENDER


Hi Daniel,

Just following up: I don’t have an answer for you yet (I’m working on it), but are you still looking for 60 days to file the
answer after yesterday’s order?

Thanks,

Steve

From: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Sent: Monday, August 29, 2022 11:49 AM
To: Obermeier, Stephen <SObermeier@wiley.law>
Cc: Sokoloff, Eugene <esokoloff@mololamken.com>; Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>
Subject: RE: Auction 97 litigation

Great, thanks Steve.

Daniel

From: Obermeier, Stephen <SObermeier@wiley.law>
Sent: Monday, August 29, 2022 11:46 AM
To: Volchok, Daniel <Daniel.Volchok@wilmerhale.com>
Cc: Sokoloff, Eugene <esokoloff@mololamken.com>; Paikin, Jonathan <Jonathan.Paikin@wilmerhale.com>
Subject: Re: Auction 97 litigation

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EXTERNAL SENDER                                                                                                                                   A

Hi Daniel,

I’ll be handling it from here but I’m on a plane all day. I’ll get back to you tomorrow or Wednesday after I can discuss
with my team.

Thanks,

Steve

Sent from my iPhone


          On Aug 29, 2022, at 5:38 PM, Volchok, Daniel <Daniel.Volchok@wilmerhale.com> wrote:


          Hi, Steve and Eugene, I hope you’re both doing well. Defendants in the Auction 97 litigation
          that is now back before the district court would like an extension of time to file their answer to
          the complaint, in light of the amount of time the case was on appeal as well as the need for
          defendants to coordinate and other personal and professional obligations counsel have in the
          coming weeks. Would VTel consent to setting the answer deadline at 60 days from the date the
          mandate appears on the district court docket?

          If there is someone else I should contact about this, just let me know.

          Best,
          Daniel

          Daniel S. Volchok | WilmerHale
          1875 Pennsylvania Avenue NW
          Washington, DC 20006 USA
          +1 202 663 6103 (t)
          +1 202 663 6363 (f)
          daniel.volchok@wilmerhale.com

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